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                     UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) ECONOMIC DEVELOPMENT             )
    AUTHORITY OF THE FORT SILL       )
    CHIRICAHUA WARM SPRINGS          )
    APACHE TRIBE,                    )
                                     )
                        PLAINTIFF    )
v.                                   )
                                     )                     Case No. CIV-24-661-R
(1) THE BUSINESS COMMITTEE OF )
    THE FORT SILL CHIRICAHUA         )
    WARM SPRINGS APACHE              )
    TRIBE,                           )
(2) JENNIFER HEMINOKEKY              )
    individually and in her official )
    capacity as Chairperson,         )
(3) PAMELA EAGLESHIELD               )
    individually and in her official )
    capacity as Vice Chairperson,    )
(4) JAMES DEMPSEY, individually      )
    and in his official capacity as  )
    Secretary Treasurer,             )
(5) JEANETTE MANN, individually      )
    and in her official capacity as  )
    Committee Member,                )
(6) DOUGLAS SPORES, individually     )
    and in his official capacity as  )
    Committee Member,                )
(7) DOLLY LORETTA BUCKNER,           )
    individually and in her official )
    capacity as Committee Member,    )
                                     )
                       DEFENDANTS.   )

                                     COMPLAINT

      Plaintiff, Fort Sill Chiricahua Warm Springs Apache Tribe Economic Development

Authority (“EDA” or “Plaintiff”), alleges as follows:
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                              NATURE OF THE ACTION

       1.     Plaintiff brings this action to temporarily restrain and preliminarily and

permanently enjoin the enforcement of three unlawful resolutions passed by the Fort Sill

Chiricahua Warm Springs Apache Tribe (the “Tribe”) Business Committee (“Business

Committee”) that purport to suspend the EDA's non-gaming activities, seize control of its

bank accounts and assets, and suspend an EDA Trustee without due process. These acts

and resolutions violate the Tribe's Constitution, the EDA's enabling legislation, federal law,

and contractual obligations of the Tribe.

       2.     Within the Tribe, the Business Committee and the EDA have separate and

distinct functions, the purpose of which is to achieve a separation of powers and some

degree of checks and balances.

       3.     The Business Committee is the political arm of the Tribe. It oversees the

governmental roles of the Tribe. Each member of the Business Committee serves a four (4)

year term and is elected by Tribal members.

       4.     The EDA was established via the EDA Code pursuant to a vote of the Tribe’s

members to manage the business operations of the Tribe separately from the Business

Committee. It is an autonomous body with full authority over the Tribe’s businesses. The

Tribe has multiple business interests, including gaming, retail, construction, federal

contracting and service operations, all governed by the EDA pursuant to the Tribe’s laws.

In short, the EDA was chosen by popular vote of the Tribe’s members to oversee the Tribe’s

business operations. Each member of the EDA is required by the Indian Gaming



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Regulatory Act (25 U.S.C. § 2701) to have a gaming license as a person who makes key

management decisions over gaming.

       5.     The Business Committee has exceeded its authority by attempting to

unilaterally suspend a duly appointed EDA Trustee without due process, restrict the EDA's

lawful operations, and interfere with the EDA's management of tribal businesses. These

actions threaten the EDA's ability to fulfill its economic development mission for the Tribe,

violate principles of tribal self-governance, and put the Tribe's gaming operations at risk of

federal intervention.

       6.     This is a coup attempt by the Business Committee for political purposes that

has no legitimate business value for the Tribe and is in violation of the Tribe’s Constitution,

Code of Laws, and the vote of Tribe’s members.

       7.     Plaintiff seeks declaratory and injunctive relief to prevent the implementation

of these unlawful resolutions and to protect the EDA's autonomy as established by tribal

law.

                                         PARTIES

       8.     Plaintiff Fort Sill Chiricahua Warm Springs Apache Tribe Economic

Development Authority is a public trust and body corporate established by the Tribe

pursuant to tribal law. The EDA's principal place of business is in Lawton, Oklahoma.

       9.     Defendant Fort Sill Chiricahua Warm Springs Apache Tribe Business

Committee is the elected governing body of the Tribe. Its principal place of business is

43187 US Highway 281, Apache, OK 73006-8038.



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       10.    Defendant Jennifer Heminokeky is the Chairwoman of the Tribe and is sued

in her individual and official capacities. Her principal place of business is 43187 US

Highway 281, Apache, OK 73006-8038.

       11.    Defendants James Dempsey, Jeanette Mann, Dolly Loretta Buckner, Douglas

Spores, and Pam Eagleshield are members of the Tribe’s Business Committee and are sued

in their individual and official capacities. Their principal place of business is 43187 US

Highway 281, Apache, OK 73006-8038.

       12.    Each Defendant is liable both in their individual and official capacities as

they have acted outside of, and have exceeded, the authority granted to the Business

Committee and individuals on the Business Committee pursuant to the Tribe’s Constitution

and Code of Laws.

                             JURISDICTION AND VENUE

       13.    This Court has federal question jurisdiction over Plaintiff's claims pursuant

to 28 U.S.C. § 1331 because the claims arise under the Indian Civil Rights Act, 25 U.S.C.

§ 1302, the Indian Gaming Regulatory Act, 25 U.S.C. §§ 2701 et seq., and federal common

law concerning tribal self-governance.

       14.    Plaintiff has no tribal administrative or legal remedies available to address

this matter as the Tribe does not have a court or judicial system in which to bring its claims.

National Farmers Union Insurance Companies v. Crow Tribe, 471 U.S. 845 (1985). In

addition, the EDA has authority pursuant to Section 220(D)(1) of the Tribe’s Economic

Development Code, a copy of which is attached hereto as Exhibit “1,” to bring suit in its

own name.
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       15.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events giving rise to the claims occurred in this district and the

defendants reside in this district.

                                FACTUAL ALLEGATIONS

       16.       The EDA was established by the Tribe pursuant to tribal law as set forth in

the Tribe’s Economic Development Code (the “Code”), Exhibit “1.” The Code is the

Tribe’s laws governing the activities and granting authority to the EDA to conduct the

Tribe’s financial business. The code was passed by a vote of the Tribe’s General Council

(i.e. the membership at large), and yet the Business Committee has decided to attempt to

exercise authority in an effort to override the legitimate laws of the Tribe passed by a vote

of its people.

       17.       The Code establishes the EDA as a separate legal entity from the Tribe with

the authority to sue and be sued in its own name. Code § 218(G).

       18.       The Code grants the EDA broad powers to engage in economic development

activities for the benefit of the Tribe, including the authority to manage all tribal business

entities. Code § 218(W).

       19.       The EDA is governed by a Board of Trustees appointed by the Tribal

Chairperson and confirmed by the Business Committee. Code § 204.

       20.       The Tribal Chairperson, Jennifer Heminokeky, is an ex officio member of the

EDA Board of Trustees with full access to all information, documents, and meetings of the

Board of Trustees.



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       21.    Trustees of the EDA may only be removed for cause after notice and a

hearing. Code § 208.

       22.    On June 13, 2024, in a secret meeting, the Business Committee passed

Resolution FSABC-2024-13 (Exhibit “2”), which purports to, inter alia:

              a)      Remove the EDA’s authority to conduct any “new business”; and

              b)      Take control of the bank accounts and assets of the EDA.

       23.    In order to pass these resolutions without scrutiny, the Business Committee

failed to properly notice these meetings of the Business Committee to Tribal members, who

all have a right to attend Business Committee meetings pursuant to Article XI, Section 3,

of the Tribe’s Constitution, Exhibit “3.”

       24.    Section 2 of Article XI of the Tribe’s Constitution requires that seven (7)

days’ notice be given prior to any Special Meeting. Upon information and belief, the

Business Committee failed to provide such notice or has issued notices with incorrect

information, with the notices stating that a meeting is to be held in one location, while the

actual meeting was held in a separate location.

       25.    On June 20, 2024, a full week after it had been passed by the Business

Committee in a secret session, the EDA Board received a copy of Resolution FSABC-

2024-13. This delay fully demonstrates the illicit and political motivations of the Business

Committee, for if they were truly concerned about the EDA engaging in mismanagement

or any wrongdoing, they would not have kept FSABC-2024-13 secret for an entire week

while the EDA continued to make business decisions, enter contracts, and make decisions

pursuant to its authority.
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       26.    Upon receipt of FSABC-2024-13, on June 21, 2024, the EDA Board sent an

official letter to the Business Committee informing Defendants of several illegalities in the

resolution including:

       a)     FSABC-2024-13 exceeds the authority and powers given to the Business

              Committee by the Tribe’s constitution and Code of Laws as there is no Code

              of Laws or authority granted to the Business Committee that allows authority

              to suspend or manage the activities of the EDA. In fact, the purpose of the

              creation of the EDA was to take advantage of certain legal and business

              protections offered by the EDA and to remove it from the realm and control

              of politicians, while still being subject to review;

       b)     FSABC-2024-13 was a violation of the Indian Gaming Regulatory Act

              (IGRA), in that the Business Committee were placing themselves in de facto

              management over the Tribe’s gaming industries without the Business

              Committee members having the appropriate background checks and gaming

              licenses; and

       c)     FSABC-2024-13 caused the EDA to be in breach of a Non-Impairment

              Agreement that secures a multi-million-dollar loan for economic

              development purposes, and as such, put the Tribe at risk of being liable for a

              debt it would not otherwise be liable to pay;

       27.    Following the receipt of this letter, the Business Committee, recognizing its

mistake, held another secret meeting over the weekend of June 22 and 23, passing

Resolution FSABC-2024-14, Exhibit “4.” This resolution purports to suspend all non-
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gaming activities of the EDA Trustees and take over bank accounts and assets pending

investigation of allegations of financial mismanagement. In short, the Business Committee

made a failed attempt to correct its violations of the IGRA.

       28.    On June 25, 2024, in another secret meeting, the Business Committee passed

FSABC-2024-15, ostensibly for the purpose of banning the EDA Board of Trustees from

interfering with an investigation. First, there was no cause for this resolution as the EDA

Board of Trustees have offered their full cooperation with any investigation and no such

investigation has been commenced. A careful reading of FSABC-2024-15 shows that it

actually gives the Business Committee management authority over the EDA’s employees,

effectively putting the Business Committee in control of the Tribe’s gaming operations and

other business interests in violation of the IGRA, the Tribe’s Constitution and the Code.

       29.    All three Resolutions (FSABC-2024-13, FSABC-2024-14, and FSABC-

2024-15) exceed the Business Committee's authority under tribal law and violate the due

process rights of the EDA and its Trustees. In addition, FSABC-2024-14 continues to place

the Tribe's gaming operations in jeopardy as it is still in violation of the IGRA, and FSABC-

2024-15 attempts to retroactively justify the Business Committee's unlawful actions while

further infringing on the rights of the EDA Trustees.

       30.    The Resolutions threaten vast irreparable harm to the EDA, and more

importantly, the Tribe, by attempting to prevent the EDA from carrying out its economic

development mission and managing tribal businesses as authorized by the Code. The

Business Committee, via its inexplicable, illegal, and unreasonable acts, have placed the

Tribe in jeopardy of punishment for IGRA violations, and breaching certain covenants and
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agreements between the EDA Board and the bank which provides funds for the Tribe’s

development. In short, the Board has put the EDA in default of certain agreements,

including a technical default of a multi-million-dollar loan, and has removed all legal

protections in place that would have shielded the Tribe from the penalties and ramifications

from said default.

        31.   The Resolutions violate multiple contracts, including the Tribal Non-

Impairment Agreement executed by the Business Committee on behalf of the General

Council for the benefit of Bank of Oklahoma. This agreement covers more than

$45,000,000 in loans taken out by the EDA.

        32.   The Resolutions put the Tribe's gaming operations at risk of investigation and

potential shut-down by the National Indian Gaming Commission (NIGC) due to violations

of IGRA.

        33.   The Business Committee has made public allegations of financial

mismanagement by the EDA Board of Trustees without providing any evidence to support

these claims or giving the EDA Board of Trustees the opportunity to present exculpatory

evidence or address such allegations in a proper forum as proscribed by the Tribe’s laws,

including the Code. In short, the Business Committee executed the EDA Board of Trustees

without the due process it is entitled to receive under the Tribe’s Constitution and Code of

Laws.

        34.   In addition, several members of the EDA Board of Trustees are members of

the Tribe and have due process rights pursuant to the Tribe’s Constitution that the Business

Committee is actively seeking to ignore.
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       35.    The Business Committee's actions have been taken without prior notice to or

discussion with the EDA Board, despite the fact that the Tribal Chairwoman has a seat on

the EDA Board and has attended most EDA meetings and has been welcomed at all

meetings.

       36.    On June 25, 2024, in another secret meeting with improper notice, the

Business Committee passed Resolution FSABC-2024-15 (Exhibit "5"), which purports to

clarify the Business Committee's authority to suspend and investigate EDA Trustees. This

resolution prohibits Trustees from interfering with or frustrating any investigation by the

Business Committee and threatens removal for non-compliance. The resolution was passed

without proper notice or opportunity for the EDA or its Trustees to be heard, further

violating principles of due process and transparency.

      37.     The EDA has no adequate remedy at law to prevent this harm.

                                CLAIMS FOR RELIEF

                           Count I - Violation of Tribal Law

       38.    Plaintiff incorporates all preceding paragraphs by reference.

       39.    The Business Committee's Resolutions violate the Tribe's Constitution and

the Economic Development Code by:

       a)     Attempting to unilaterally suspend an EDA Trustee without following the

              removal procedures in Code § 208;

       b)     Usurping the EDA's authority to manage tribal businesses granted by Code

              § 218(W);



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       c)       Interfering with the EDA's operational autonomy established by the Code;

                and

       d)       Attempting to unilaterally expand the Business Committee's authority

                through Resolution FSABC-2024-15, which was passed without proper

                notice or adherence to tribal law procedures.

       40.      Plaintiff is entitled to declaratory and injunctive relief to prevent the

implementation of these unlawful resolutions.

                            Count II - Violation of Due Process

       41.      Plaintiff incorporates all preceding paragraphs by reference.

       42.      The Business Committee's attempt to suspend an EDA Trustee without notice

or a hearing violates the due process protections of the Indian Civil Rights Act, 25 U.S.C.

§ 1302(a)(8).

       43.      The Resolutions deprive the EDA of its property interests in its bank accounts

and assets without due process of law.

       44.      Resolution FSABC-2024-15 further violates due process by giving the

Business Committee management authority over the EDA’s employees, prohibiting

Trustees from 'interfering with' or 'frustrating' investigations, using vague terms that could

be used to stifle legitimate defense or dissent, and by threatening removal for non-

compliance with this improperly enacted resolution.

       45.      Plaintiff is entitled to declaratory and injunctive relief to prevent these due

process violations.



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                     Count III - Violation of Tribal Self-Governance

       46.    Plaintiff incorporates all preceding paragraphs by reference.

       47.    Federal common law protects the right of Indian tribes to determine their

own form of government and economic structures.

       48.    By attempting to unilaterally alter the structure and authority of a duly

established tribal entity, the Business Committee's actions violate principles of tribal self-

governance protected by federal common law.

       49.    The passage of Resolutions FSABC-2024-13, 14, and 15 in secret meetings

with improper notice further undermines principles of tribal self-governance by bypassing

established procedures for amending tribal laws and policies, and attempting to consolidate

power in the Business Committee at the expense of other tribal institutions.

       50.    Plaintiff is entitled to declaratory and injunctive relief to protect its autonomy

under principles of tribal self-governance.

              Count IV - Violation of the Indian Gaming Regulatory Act

       51.    Plaintiff incorporates all preceding paragraphs by reference.

       52.    The Business Committee's actions, if implemented, would violate IGRA by

interfering with the Tribe's gaming operations without proper authority or licensure.

       53.    These actions put the Tribe at risk of federal investigation and potential

closure of its gaming facilities.

       54.    Plaintiff is entitled to declaratory and injunctive relief to prevent violations

of IGRA and protect the Tribe's gaming operations.



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                              Count V - Breach of Contract

         55.   Plaintiff incorporates all preceding paragraphs by reference.

         56.   The Business Committee's actions, if implemented, would violate the Tribal

Non-Impairment Agreement and other contractual obligations of the Tribe.

         57.   These violations put the Tribe at risk of defaulting on over $45,000,000 in

loans.

         58.   Plaintiff is entitled to declaratory and injunctive relief to prevent these

contractual breaches and protect the Tribe's financial interests.

                               Count VI – Injunctive Relief

         59.   Plaintiff incorporates all preceding paragraphs by reference.

         60.   In addition to a permanent injunction, Plaintiff seeks a temporary restraining

order and a preliminary injunction. A motion will be filed immediately.

                                 PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court:

         1.    Declare Resolutions FSABC-2024-13, FSABC-2024-14 and FSABC-2024-

15 unlawful and unenforceable;

         2.    Preliminarily and permanently enjoin Defendants from implementing or

enforcing Resolutions FSABC-2024-13, FSABC-2024-14, and FSABC-2024-15;

         3.    Order Defendants to refrain from interfering with the EDA's lawful

operations and management of tribal businesses;

         4.    Order Defendants to provide any evidence of alleged financial

mismanagement to the EDA Board for proper investigation;
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        5.    Declare that the Business Committee lacks authority to unilaterally suspend

EDA Trustees or seize control of EDA assets;

        6.    Immediately restrain and enjoin Defendants from implementing or enforcing

Resolutions FSABC-2024-13 and FSABC-2024-14;

        7.    Prohibit Defendants from interfering with the EDA's control over its bank

accounts and assets;

        8.    Prohibit Defendants from interfering with the EDA's ongoing business

operations and management of tribal businesses;

        9.    Order Defendants to immediately restore all communication channels

between EDA Board Members and the EDA Chairperson;

        10.   Order Defendants to maintain the status quo with respect to the EDA's

authority and operations as established by the Fort Sill Apache Economic Development

Code;

        11.   Order Defendants to refrain from making any public statements alleging

financial mismanagement by the EDA without providing evidence to support such claims;

        12.   (?)Set an emergency hearing within 14 days to determine whether this

temporary restraining order should be converted to a preliminary injunction pending final

resolution of this case;

        13.   Waiving the security requirement under Fed. R. Civ. P. 65(c) due to the strong

likelihood of success on the merits and the fact that the EDA is a tribal entity acting in the

public interest.



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       14.    The EDA requests that this emergency temporary restraining order be issued

immediately, without waiting for a response from Defendants, due to the urgent nature of

the situation and the imminent risk of irreparable harm.

       15.    Award Plaintiff its reasonable costs and attorneys' fees; and

       16.    Grant such other and further relief as the Court deems just and proper.


                                                 Respectfully submitted,


                                                 /s/ Ryan S. Wilson
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